                                                                                                Exhibit B


                                                              Angeliina Lawson <angeliinalawson@gmail.com>



Access to filings
Angeliina Lawson <angeliinalawson@gmail.com>                                          Fri, May 23, 2025 at 12:03 PM
To: Tina Miller <Tina.Miller@kscourts.gov>

 I would like a copy of the rules and procedures please

 On Fri, May 23, 2025 at 11:57 AM Tina Miller <Tina.Miller@kscourts.gov> wrote:

   Angeliina,



   If you would like to download/print the filings in your case you will need to go to your local courthouse, to the
   help center. Pro Se parties have access to cases either through the public portal via their personal computer
   (which does not allow seeing the documents in domestic cases) or going to the help center/kiosk at the
   courthouse to print copies.



   I will mail you any documents filed after your attorney (via USPS) was allowed to withdraw, anything before
   that you should have gotten copies from him.



   This is the standard procedure for any party that is Pro Se in any case type.




   Thank you,
   Tina


   From: Angeliina Lawson <angeliinalawson@gmail.com>
   Sent: Friday, May 23, 2025 11:25 AM
   To: Tina Miller <Tina.Miller@kscourts.gov>
   Subject: Re: FW: Access to filings



    CAUTION: This email originated from outside the organization. Do not click links or open attachments unless
you recognize the sender and know the content is safe.


Good afternoon Tina, I still do not have access into my own case to download filings.



On Tue, May 20, 2025 at 10:35 AM Angeliina Lawson <angeliinalawson@gmail.com> wrote:

  Tina, I am on the public portal and it is locked to me. I can not download any of the filings. See attached



  On Tue, May 20, 2025 at 10:03 AM Tina Miller <Tina.Miller@kscourts.gov> wrote:

     My apologies, I cut off the last sentence.



     If there are new filings by parties other than yourself, I will also send you hard copies via USPS, but
     you’ll have access



     via public portal as soon as they are filed in to the case.




     Tina

     From: Tina Miller
     Sent: Tuesday, May 20, 2025 10:01 AM
     To: Angeliina Lawson <angeliinalawson@gmail.com>
     Subject: RE: Access to filings


     Ms. Lawson,



     In all case types, including Domestic, Pro Se parties have access to the case through the public portal:



      https://prodportal.kscourts.gov/prodportal
Or the kiosk(self-help station) at your local court house. If there are new filings by parties other than
yourself.




Thank you,
Tina Miller
Clerk of the District Court

Anderson County District Court

PO Box 305

Garnett, Kansas 66032-0305

Phone 785-448-6886

Fax 785-448-3230




From: Angeliina Lawson <angeliinalawson@gmail.com>
Sent: Monday, May 19, 2025 10:14 AM
To: Tina Miller <Tina.Miller@kscourts.gov>
Subject: Re: Access to filings



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unless you recognize the sender and know the content is safe.


I need an answer why I still don't have access to the filings as pro se?



On Thu, Apr 24, 2025 at 1:12 PM Angeliina Lawson <angeliinalawson@gmail.com> wrote:

  Hi Tina, I still do not have access to my case to read orders or motions.
                 Warmly,
                 Angeliina Lawson




            --

            Warmly,

            Angeliina Lawson

            913-972-1661




       --

       Warmly,

       Angeliina Lawson

       913-972-1661




  --

  Warmly,

  Angeliina Lawson

  913-972-1661




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Warmly,
Angeliina Lawson
913-972-1661
